Case 8:21-cr-00127-DFM Document 20 Filed 11/18/21 Page 1 of 4 Page ID #:78
                  Case 8:21-cr-00127-DFM Document 20 Filed 11/18/21 Page 2 of 4 Page ID #:79

USA vs.     LQNN, INC.                                                               Docket No.:       SACR20-00128-DFM


In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




           November 18, 2021
           Date                                                           Douglas F. McCormick, U. S. Magistrate Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                          Clerk, U.S. District Court




           November 18, 2021                                       By     N. Boehme
           Filed Date                                                     Deputy Clerk




The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                               While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant shall not commit another Federal, state or local                10.   the defendant shall not associate with any persons engaged in
       crime;                                                                              criminal activity, and shall not associate with any person
2.   the defendant shall not leave the judicial district without the written               convicted of a felony unless granted permission to do so by the
       permission of the court or probation officer;                                       probation officer;
3.   the defendant shall report to the probation officer as directed by the        11.   the defendant shall permit a probation officer to visit him or her at
       court or probation officer and shall submit a truthful and complete                 any time at home or elsewhere and shall permit confiscation of
       written report within the first five days of each month;                            any contraband observed in plain view by the probation officer;
4.   the defendant shall answer truthfully all inquiries by the probation          12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                       being arrested or questioned by a law enforcement officer;
5.   the defendant shall support his or her dependents and meet other              13.   the defendant shall not enter into any agreement to act as an
       family responsibilities;                                                            informer or a special agent of a law enforcement agency without
6.   the defendant shall work regularly at a lawful occupation unless                      the permission of the court;
       excused by the probation officer for schooling, training, or other          14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                                 parties of risks that may be occasioned by the defendant’s
7.   the defendant shall notify the probation officer at least 10 days prior               criminal record or personal history or characteristics, and shall
       to any change in residence or employment;                                           permit the probation officer to make such notifications and to
8.   the defendant shall refrain from excessive use of alcohol and shall                   conform the defendant’s compliance with such notification
       not purchase, possess, use, distribute, or administer any narcotic                  requirement;
       or other controlled substance, or any paraphernalia related to such         15.   the defendant shall, upon release from any period of custody, report
       substances, except as prescribed by a physician;                                    to the probation officer within 72 hours;
9.   the defendant shall not frequent places where controlled substances           16.   and, for felony cases only: not possess a firearm, destructive device,
       are illegally sold, used, distributed or administered;                              or any other dangerous weapon.




CR-104 (docx 10/15)                                  JUDGMENT & PROBATION/COMMITMENT ORDER                                                              Page 2 of 4
                Case 8:21-cr-00127-DFM Document 20 Filed 11/18/21 Page 3 of 4 Page ID #:80

USA vs.     LQNN, INC.                                                           Docket No.:     SACR20-00128-DFM



 X The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are
not applicable for offenses completed prior to April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

         The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in
the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
§3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or
the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for
probation 18 U.S.C. §3563(a)(7).

          Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.

                                SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

         As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, shall be disclosed to the Probation Officer upon request.

        The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (docx 10/15)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 3 of 4
                  Case 8:21-cr-00127-DFM Document 20 Filed 11/18/21 Page 4 of 4 Page ID #:81

USA vs.     LQNN, INC.                                                         Docket No.:        SACR20-00128-DFM



                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date




CR-104 (docx 10/15)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 4 of 4
